‘Case 1:01-cv-12257-PBS Doctiment 1007-3. Filed 05/03/04 Page 1 of 9”

IN THE UNITED STATES DISTRICT COURT

DISTRICT OF MASSACHUSETTS

IN RE PHARMACEDTICAL ) MDL No. 146

INDUSTRY AVERAGE )

WHOLESALE PRICE LITIGATION — ) CIVIL ACTION: 01-CV-12257 PBS
)
) Judge Patti B. Saris

THIS DOCUMENT RELATES TO )

ALL CLASS ACTIONS } Chief Magistrate Judge
)

Marianne B. Bowler

DECLARATION OF KIMBIR TATE IN SUPPORT OF OPPOSITION OF
MCKESSON CORPORATION TO PLAINTIFFS MOTION TO COMPEL THE
PRODUCTION OF DOCUMENTS

Kimbir Tate declares:

1. {am a Manager of Litigation Support in the Law Department of McKesson
Corporation ("McKesson"). A part of my job responsibilities includes locating,
organizing and producing documents in response to discovery requests, government
inquiries and subpoena requests. I have had this responsibility for 12 years and am
familiar with McKesson Corporation as well as the documents maintained by McKesson
and the effort required to locate and assemble them.

2. In connection with the Amended Subpoena which is the subject of this
motion to compel, I have supervised the investigation into the extent that McKesson has
responsive documents. McKesson is served with numerous investigation requests from

the government and litigation discovery requests from private parties. McKesson treats

1
Case 1:01-cv-12287-PBS Docurnerit'1007-3 ‘Filed 09/03/04 “Page 2 of 9

its legal obligations under these requests very seriously. In this matter, McKesson has
received document requests from three groups of plaintiffs and from defendant.
McKesson is doing its best to respond as set out below. The facts in this declaration are a
result of my investigation and the knowledge that I have acquired during my tenure at
McKesson.

3. Average Wholesale Price or "A WP" is not a reference that is used by
-McKesson in its business, but is a price that McKesson obtains from First Data Bank and
supplies to its customers.. McKesson generally selis pharmaceuticals either at a contract

price set by manufacturer or at a markup established by McKesson.
4. With respect to the items requested in the Amended Subpoena, I can make
the following statements about each request:

Category 1: Pricing and Pricing Related

1. All documents evidencing prices paid to You for Identified Drugs.

The historical information plaintiffs seek would have to be farmed from the
sales history tapes housed at McKesson’s Data Center. McKesson processes
approximately 15 million transactions on a daily basis. Thus, allowing for an increase in
business over time, during the Relevant Time Period set out in the deposition, there are in

the magnitude of 50 billion transactions. This information is not sorted in any way and a

computer program has to be written to search for whatever is sought reading every single
Case 1:01-cv-12257-PBS : Document 1007-3 « Filed 09/03/04 ‘ Page 3 of 9

line item on the tape to get to the requested information. The program has to be run,
which can take days or weeks, depending on the extent of the search.

Even then, the information will not be complete, because it is set out by
NDC numbers, which are unique identifying numbers assigned to a particular drug in a
patticular quantity, form or packaging. McKesson tracks drugs by an Economost number.
NDCs must be converted into Economost numbers and these numbers can change over
time. McKesson does not have a way to track changes. In addition, many NDC and
Economost numbers are reused over time. McKesson has no historic information on
previous NDC numbers and does not keep historic information on Economost numbers.

The data retrieval also is not particularly reliable. Although I believe that
the same software program has been used over the years in question, the program and
coding language have been updated periodically and older data often not accessible.
McKesson has experienced serious validity problems with searches for data for periods
prior to 1998, the last time that a major change occurred. Additionally, all of the
information is on a single set of tapes that is used for other requests that precede those of
plaintiffs.

Finally, the cost of historic data retrieval is considerable. To obtain a report
on a single drug can take in excess of 80 hours including writing a search request,
converting NDCs to Economost numbers, debugging, validating data and conducting the

search, including the time it actually takes to run the tapes. Several years ago, McKesson

3
< - ") Case-1:01-cv-12257-PBS Document 1007-3 Filed 09/03/04 Pagé 4 of9 *

‘determined that its search cost was $50 per Distribution Center per month searched. It is
higher now. What plaintiffs are requesting would cost hundreds of thousands of dollars.
Two years of data are kept in easily accessible electronic form, but in order
to effectively search for the Identified Drugs and organize the data, we need the NDC
numbers. Now that the NDC numbers have been provided, I expect that we can provide
plaintiffs with data in approximately two weeks.
2. All documents evidencing the Net Transaction Cost to Your
customers for Your Sales of Identified Drugs.
McKesson does not have access to all discounts and therefore cannot know the
"Net Transaction Cost" to its customers and does not have documents described by item
2.
3. All documents sufficient to show the rebates, discounts, chargebacks and

other adjustments provided to You by a Defendant, or administered by You
on behalf of a Defendant, for each of the Identified Drugs.

There are several difficulties with this request. First, although McKesson has sales
history data through the Relevant Time Period from January 1,1991, those tapes do not
contain rebate, discounts, chargeback or other adjustments. McKesson has a chargeback
maintenance system which it began automating in July 2000. There are "electronic"
records of chargebacks, but the data is captured by manufacturer and not by product, so
the breakdown requested by plaintiffs is virtually impossible and certainly very time

consuming, In addition, multiple requests for chargebacks are sent to a manufacturer on a

4
-. Case 1:01-cv-12257-PBS “Document 1007-3 Filed 69/03/04 Page5of9

single Credit Memo. In order to get to line item information McKesson must manually
review each item attached to every single Credit Memo sent to the manufactuer. It may
take several months to get to the information requested. As for discounts, McKesson
routinely receives a two percent (2%) discount for prompt payment, but does not amortize
that amount for each product, so the documents sought do not exist.

4. All documents relating to a Defendant's suggested price for Any identified

Drug, including, but not limited to prices that a Defendant has suggested for
sales that You make to a member of a group purchasing organization.

Item 4 is inconsistent with the structure of drug wholesaling. McKesson seils
drugs either at a contact price (a price negotiated and set by the manufacturer with
McKesson’s downstream customers) or at WAC plus or minus McKesson’s markup.

As for group purchasing organizations, McKesson provides products to its members at a
price negotiated between the GPO and the manufacturer. McKesson receives the pricing
from the manufacturer and the membership list and eligibility from the GPO. Thus there
is a negotiated contractual price between the GPO and the manufacturer, not a
"suggested" price. McKesson does not keep historical information other than the

chargeback data discussed in connection with item 3, above.

Category 2: AWP, Publications and Pricing Surveys

5, All documents concerning AWP, including, but not limited to (@)
documents related to your use of AWP as a pricing term or pricing
benchmark in any of Your contracts; (fi) documents discussing how You or
others define AWP; (iii) documents discussing how AWP has been, or is
currently, calculated; (iv) documents identifying the source that You use for
determining AWPs; (v) all communications between you and a Defendant

5
“ Gse 1:01-¢v-12257-PBS Document 1007-3 Filed 09/03/04 Page 6 of 9°

concerning AWP; (vi) all communications between you and a Publisher
concerning AWP; and (vii) all communications between you and a Pharmacy
Benefit Manager concerning AWP.

McKesson does not use AWP in its pricing or have any interest in it. Therefore

McKesson is not aware of having any of the described documents. McKesson has
explained to plaintiffs that it receives a report of the AWP from publisher First Databank
and includes that on invoices and computer screen at the request of customers.
McKesson does not keep a record of the data it receives from First Databank. Each set of
data overwrites the previous data. McKesson also reports sales data to publishers, but not
denominated an AWP. McKesson is not aware of the manner in which publishers use this
sales data.

McKesson has a contract with First Databank for the exchange of information,
which has been provided. McKesson receives the AWP from First Databank and includes
it in its computer system for use by its customers, but does not itself use the AWP for any

purpose.

6. All documents relating to Your role, or a Defendant's role, in the
publication, appearance, or advertisement of the AWP of each identified Drug
in Publications during the Relevant Time Period.

McKesson is not aware of having a role in the publication, appearance, or
advertisement of the AWP and therefore believes that it has no such documents.

7, All documents concerning any pricing survey conducted by any
Publication, This request included but is not limited to any Pricing data that
you provided to a Publication.

As stated above, McKesson reports sales data to publishers through contractual
, 6
Cage 1:01-¢V-12257-PBS Document 1007-3 Filed 09/03/04 “Page 7-of 9°

arrangements, but not any data denominated AWP. McKesson is not aware of the manner
in which publishers use this sales data and whether it qualifies as a “survey”.

8. All contracts with Publications and all communications with Publications
regarding Identified Drugs.

On August 27, 2004, McKesson provided two such contracts with entities that
became First Databank. McKesson is unaware of any other such contracts.
Category 3: Relationships with Pharmacies and PBMs
9, All contracts between You and the five largest retail pharmacies. "Five .

largest retail pharmacies" refers to the five pharmacies that represent your
largest retail sales volume over the past three calendar years.

Contracts with the six largest retail pharmacies — Costco, Wal-Mart, Rite-Aid,
Target, Walgreens and Safeway - were provided on July 21, 2004.

10. All contracts between You and Pharmacy Benefit Managers Caremark,
Medco, Express Scripts and AdvancePCS.

I am attempting to locate contracts with these entities and will provide then as
' soon as I obtain them.
Category 4: Investigations, Suits and Complaints
11. Ali documents produced by You, whether voluntarily or involuntarily, in

any Government Investigation or inquiry related to the use of AWP, Rebates
or any other consideration provided to you by a defendant.

On July 21, 2004, McKesson provided plaintiffs with a CD containing the
information that it provided to a 2003 Congressional investigation relating to AWP,
McKesson provided this information in electronic, rather than paper form to assist

plaintiffs in reviewing and sorting the data. Plaintiffs then requested the cover letter that
7
~” Case-1:01-cv-12257-PBS Doctiment 1007-3 Filed 09/03/04 Page 8 of 9

accompanied the submission and the document request. On August 27, 2004, McKesson
provided the cover letter from Associate General Counsel Richard Ardoin and a press
release that contained the text of the document request. McKesson does not appear ever
to have received a document request from the committee.

After I understood that plaintiffs had expressed an interest in the qui tam litigation
conducted by the Texas Attomey General, I located transcripts and other documents
related to McKesson and supplied them to McKesson's counsel for production.
McKesson remains willing to attempt to determine what was provided in other
investigations if plaintiffs will identify the investigations in which they are interested.

12. All documents relating to any legal proceeding (by country [sic], court,

caption case number etc.) including but not limited to court hearings,

legislative hearings, mediations, or arbitrations, in which you were a party,

regarding the use of AWP, Rebates or any other consideration provided to _
you by a Defendant.

McKesson is unaware of any such matters in which it was a party.
13. All affidavits, declarations, or other written statements, including drafts,

provided by you regarding the use of AWP, Rebates or any other
consideration provided to you by a defendant.

As with item No. 11, McKesson would research, within reason, any proceeding
identified by plaintiffs, but is unaware of any McKesson employee having provided any
such written statement.

Category 5: Miscellaneous

14. All current and historical organizational charts for all of Your
departments.
Case 1:01-cv-12257:PBS Document 4607:3 ‘Filed 09/03/04 Page 9 of 9

McKesson has provided a general organization chart and has identified witnesses
that it will produce in response to the categories identified in plaintiffs' deposition

subpoena to McKesson under F. R. Civ. P 30(b)(6).

15, All documents sufficient to identify Your policy or practice of document
retention, destruction, disposal or preservation for each year during the
relevant Time Period.

McKesson has no wide-reach document retention policy. McKesson complies with

different governmental and business requirements for each type of data.

I declare the foregoing to be true under penalty of perjury under the laws of the
State of California, and that this declaration was signed at San Francisco, California on

September 7) , 2004.

KV

i’ _Kybir Tate

504165_1.DOC
